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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   FLORENCE DIVISION

Barrette Outdoor Living, Inc.,                   Civil Action No.: 4:18-cv-02545-MGL

        Plaintiff,

        v.                                                      COMPLAINT
                                                            (Jury Trial Demanded)
Action Fence Company, LLC, DOES 1-10,

        Defendants.


        Plaintiff Barrette Outdoor Living, Inc. (“BOL” or “Plaintiff”), by and through its

attorneys, complains against Defendant, Action Fence Company, LLC (“AFC” or “Defendant”),

and alleges as follows:

                                      NATURE OF THE SUIT

        1.      This is an action for copyright infringement under the Copyright Act of the

United States, 17 U.S.C. § 101, et seq.

                                  JURISDICTION AND VENUE

        2.      This Court has subject matter jurisdiction over copyright claims pursuant to 28

U.S.C. §§ 1331 and 1338.

        3.      Venue is proper in this judicial district and division pursuant to 28 U.S.C. §

1391(b) and (c) and 28 U.S.C. § 1400(a).

        4.      Upon information and belief, Defendant is an entity organized and existing

pursuant to the laws of the State of South Carolina and/or is actively engaged in promoting,

advertising, marketing, purveying, importing, and offering for sale its goods and/or otherwise

doing business within this District. Defendant has sufficient contacts within this District to

confer personal jurisdiction to this Court.     Upon information and belief, Defendant also
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maintains it principal place of business in this District and has engaged in infringing and

wrongful conduct in this District which gives rise to the claims asserted in this action.

                                          THE PARTIES

       5.      Barrette Outdoor Living, Inc. is a corporation organized under the laws of the

state of Ohio with its principal place of business at 7830 Freeway Circle, Middleburg Heights,

Ohio 44130.

       6.      Upon information and belief, Action Fence Company, LLC is a corporation

organized under the laws of the state of South Carolina with its principal place of business 2507

Forestbrook Rd., Myrtle Beach, South Carolina 29588.

       7.      The true names and capacities of Defendant Does 1 through 10 are presently

unknown to BOL, which therefore sues said Defendants by their fictitious names. BOL is

informed and believes each of the fictitiously named Defendants is responsible in some capacity

for matters alleged herein. BOL will amend the within Complaint to state the true names and

capacities of Defendant Does 1 through 10 when they are ascertained.

                                         BACKGROUND

       8.      BOL is the sole owner of the federally registered copyright entitled “Swing” with

an effective date of registration of May 17, 2018 and the accompanying Registration Number VA

2-103-146. A copy of the “Swing” photograph and registration certification for VA 2-103-146 are

included herewith as Exhibit 1.

       9.      BOL is the sole owner of the copyright for the photograph entitled “Juniper

Haven”, which is the subject of a pending application filed in the United States Copyright

Office on May 17, 2018 and assigned case number 1-6592539361. A copy of the “Juniper Haven”

photograph and corresponding copyright application are included herewith as Exhibit 2.

       10.     BOL is the sole owner of the copyright for the photograph entitled “Dogwood
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Haven”, which is the subject of a pending application filed in the United States Copyright

Office on May 17, 2018 and assigned case number 1-6592539557. A copy of the “Dogwood

Haven” photograph and corresponding copyright application are included herewith as Exhibit

3.

       11.    BOL is the sole owner of the copyright for the photograph entitled “White

Fence”, which is the subject of a pending application filed in the United States Copyright Office

on May 17, 2018 and assigned case number 1-6592539746. A copy of the “White Fence”

photograph and corresponding copyright application are included herewith as Exhibit 4.

       12.    BOL is the sole owner of the copyright for the photograph entitled “Circular

Pool”, which is the subject of a pending application filed in the United States Copyright Office

on May 17, 2018 and assigned case number 1-6592540030. A copy of the “Circular Pool”

photograph and corresponding copyright application are included herewith as Exhibit 5.

       13.    BOL is the sole owner of the copyright for the photograph entitled “Gold Fin

Aluminum”, which is the subject of a pending application filed in the United States Copyright

Office on May 18, 2018 and assigned case number 1-6596602048. A copy of the “Gold Fin

Aluminum” photograph and corresponding copyright application are included herewith as

Exhibit 6.

       14.    BOL is the sole owner of the copyright for the photograph entitled “Haven

Arrowwood”, which is the subject of a pending application filed in the United States Copyright

Office on May 18, 2018 and assigned case number 1-6596706301. A copy of the “Haven

Arrowwood” photograph and corresponding copyright application are included herewith as

Exhibit 7.

       15.    BOL is the sole owner of the copyright for the photograph entitled “Backyard

Pool Banner”, which is the subject of a pending application filed in the United States Copyright
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Office on May 18, 2018 and assigned case number 1-6596706455. A copy of the “Backyard Pool

Banner” photograph and corresponding copyright application are included herewith as Exhibit

8.

       16.     BOL is the sole owner of the copyright for the photograph entitled “Backyard

Pool Panoramic”, which is the subject of a pending application filed in the United States

Copyright Office on May 18, 2018 and assigned case number 1-6596706763. A copy of the

“Backyard Pool Panoramic” photograph and corresponding copyright application are included

herewith as Exhibit 9.

       17.     BOL is the sole owner of the copyright for the photograph entitled “Soccer

Panoramic”, which is the subject of a pending application filed in the United States Copyright

Office on May 18, 2018 and assigned case number 1-6596707196. A copy of the “Soccer

Panoramic” photograph and corresponding copyright application are included herewith as

Exhibit 10.

       18.     BOL is the sole owner of the copyright for the photograph entitled “Backyard

Panoramic”, which is the subject of a pending application filed in the United States Copyright

Office on May 18, 2018 and assigned case number 1-6596763289. A copy of the “Backyard

Panoramic” photograph and corresponding copyright application are included herewith as

Exhibit 11.

       19.     BOL is the sole owner of the copyright for the photograph entitled “Swing

Derivative”, which is the subject of a pending application filed in the United States Copyright

Office on July 21, 2018 and assigned case number 1-6788728129. A copy of the “Swing

Derivative” photograph and corresponding copyright application are included herewith as

Exhibit 12.

       20.     BOL is the sole owner of the copyright for the photograph entitled “Juniper
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Haven Derivative”, which is the subject of a pending application filed in the United States

Copyright Office on July 21, 2018 and assigned case number 1-6788727996. A copy of the

“Juniper Haven Derivative” photograph and corresponding copyright application are included

herewith as Exhibit 13.

       21.    BOL is the sole owner of the copyright for the photograph entitled “Dogwood

Haven Derivative”, which is the subject of a pending application filed in the United States

Copyright Office on July 21, 2018 and assigned case number 1-6788789302. A copy of the

“Dogwood Haven Derivative” photograph and corresponding copyright application are

included herewith as Exhibit 14.

       22.    BOL is the sole owner of the copyright for the photograph entitled “White Fence

Derivative”, which is the subject of a pending application filed in the United States Copyright

Office on July 21, 2018 and assigned case number 1-6788789349. A copy of the “White Fence

Derivative” photograph and corresponding copyright application are included herewith as

Exhibit 15.

       23.    BOL is the sole owner of the copyright for the photograph entitled “Gold Fin

Derivative”, which is the subject of a pending application filed in the United States Copyright

Office on July 21, 2018 and assigned case number 1-6788789396. A copy of the “Gold Fin

Derivative” photograph and corresponding copyright application are included herewith as

Exhibit 16.

       24.    BOL is the sole owner of the copyright for the photograph entitled “Haven

Arrowwood Derivative”, which is the subject of a pending application filed in the United States

Copyright Office on July 21, 2018 and assigned case number 1-6788789443. A copy of the

“Haven Arrowwood Derivative” photograph and corresponding copyright application are

included herewith as Exhibit 17.
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       25.    BOL is the sole owner of the copyright for the photograph entitled “Backyard

Pool Banner Derivative”, which is the subject of a pending application filed in the United States

Copyright Office on July 21, 2018 and assigned case number 1-6751873000. A copy of the

“Backyard Pool Banner Derivative” photograph and corresponding copyright application are

included herewith as Exhibit 18.

       26.    BOL is the sole owner of the copyright for the photograph entitled “Soccer

Panoramic Derivative”, which is the subject of a pending application filed in the United States

Copyright Office on July 21, 2018 and assigned case number 1-6788789396. A copy of the

“Soccer Panoramic Derivative” photograph and corresponding copyright application are

included herewith as Exhibit 19.

       27.    BOL is the sole owner of the copyright for the photograph entitled “Homepage

Derivative”, which is the subject of a pending application filed in the United States Copyright

Office on July 21, 2018 and assigned case number 1-6788723092. A copy of the “Homepage

Derivative” photograph and corresponding copyright application are included herewith as

Exhibit 20.

       28.    BOL is the sole owner of the copyright for the photograph entitled “Three Step

Derivative”, which is the subject of a pending application filed in the United States Copyright

Office on July 21, 2018 and assigned case number 1-6788723172. A copy of the “Three Step

Derivative” photograph and corresponding copyright application are included herewith as

Exhibit 21.

       29.    Plaintiff has been incorporating the subject photographs in various advertising

and marketing for its fencing and related fencing accessories. BOL’s protected work has been

available to and accessible by Defendants because BOL’s protected works have been publically

displayed in BOL’s advertising and marketing, for example, on BOL’s website.
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        30.    Defendants have produced, reproduced, prepared derivative works based upon,

distributed and publicly displayed BOL’s protected work or derivatives of BOL’s protected

work without BOL’s consent and, as such, Defendants’ acts have violated BOL’s exclusive rights

under the Copyright Act, 17 U.S.C. §§ 106 and 501, including BOL’s exclusive rights to produce,

reproduce, and distribute copies of its work, to create derivative works and to publically

display its works.

        31.    Defendants are in direct competition with Plaintiff and offer for sale similar

products including fence and fence accessories.

                                FIRST CLAIM FOR RELIEF
                               COPYRIGHT INFRINGEMENT
                                  17 U.S.C. §§ 106, et seq.

        32.    Paragraphs 1 through 31 are re-alleged and incorporated herein by reference.

        33.    Through their conduct alleged herein, Defendants have infringed Plaintiff’s

copyrighted works in violation of Sections 106 and 501 of the Copyright Act, 17 U.S.C. §§ 106

and 501.

        34.    Upon information and belief, Action Fence Company, LLC conducts business in

South Carolina under the name “Action Fence Company of Myrtle Beach” and owns, operate

and/or control the content of the website: https://www.myrtlebeachactionfence.com.

        35.    Upon information and belief, Action Fence Company, LLC conducts business in

North Carolina under the name “Action Fence Company of Raleigh” and owns, operate and/or

control the content of the website: https://www.raleighbeachactionfence.com.

        36.    An example of Defendants’ infringement is best illustrated by way of
comparison of BOL’s above noted federally copyrighted “Swing” photo and (a) BOL’s “Swing
Derivative” (Subject of U.S. Copyright Application case number 1-6788728129 entitled “Swing
Derivative”) and the excerpts from Defendants’ website as referenced below in samples (b) and
(c).
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                             © 2018 Barrette Outdoor Living

      a)    Barrette Outdoor Living, Inc. (ActiveYards) - https://www.activeyards.com/FAQ
                                           “Swing Derivative”




      b)    Action Fence Company - https://raleighactionfence.com/vinyl.html




c)     Defendant Action Fence Company https://www.myrtlebeachactionfence.com/vinyl.html




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       37.     Upon information and belief, Defendants own, operate and/or control the

content of the websites upon which Defendants have produced, reproduced, prepared

derivative works based upon, distributed and publicly displayed BOL’s protected work,

derivatives of BOL’s protected work, and/or images that are copied from and substantially

similar to BOL’s protected work and/or images that include or exhibit copying, by Defendants,

of the constituent elements of BOL’s protected work that are original, without BOL’s consent or

permission.

       38.     Additional evidence of Defendants’ copyright infringement is shown via a side

by side comparison of BOL’s photographs and derivative works and excerpts of Defendants’

website in Exhibit 22.

       39.     Defendants’ acts of infringement are willful, intentional and purposeful, in

disregard of and with indifference to Plaintiff’s rights in the subject works.

       40.     As a direct and proximate result of Defendants’ infringement, Plaintiff is entitled

to damages in an amount to be proven at trial.

       41.     Plaintiff is also entitled to Defendants’ profits attributable to the infringement, as

well as statutory damages pursuant to 17 U.S.C. § 504.

       42.     Plaintiff is further entitled to its attorney’s fees and full costs pursuant to 17

U.S.C. § 505 and otherwise according to law.

       43.     As a direct and proximate result of Defendants’ forgoing acts and conduct,
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Plaintiff has sustained and will continue to sustain substantial, immediate and irreparable

injury, for which there is no adequate remedy at law. Plaintiff is informed and believes and on

that basis avers that unless enjoined and restrained by this Court, Defendants will continue to

infringe Plaintiff’s rights in the copyrighted works. Plaintiffs are entitled to preliminary and

permanent injunctive relief to restrain and enjoin Defendants’ continuing infringing conduct.

                             SECOND CLAIM FOR RELIEF
                          COMMON LAW UNFAIR COMPETITION

       44.      Paragraphs 1 through 43 are re-alleged and incorporated by reference herein.

       45.     The foregoing acts of Defendants permit Defendants to use and benefit from the

goodwill and reputation earned by Plaintiff and to obtain a ready customer acceptance of

Defendants’ Infringing Products, and constitute unfair competition, palming off, and

misappropriation in violation of South Carolina common law, for which Plaintiff is entitled to

recover any and all remedies provided by such common law.

       46.     Defendants have copied a substantial portion of Plaintiff’s advertising, e.g.,

portions of Plaintiff’s website, including the copyrighted material appearing thereon.

Defendants’ unauthorized copying and use of Plaintiff’s advertising is likely to cause confusion,

mistake, or deceive customers as to an affiliation, connection or association of Defendants with

Plaintiff, or alternatively, as to the origin, sponsorship, or approval of Defendants’ goods,

services or commercial activities by Plaintiff.

       47.     Defendants’     unauthorized       copying   and   use   of   Plaintiff’s   advertising

misrepresents the nature, characteristics, qualities or geographic origin of Defendants’ goods,

e.g., for example, by suggesting that Defendants’ goods, services or commercial activities

originate from, are sponsored by, or approved by Plaintiff.

       48.     Defendants have made and will continue to make substantial profits and gains to

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which it is not in law or equity entitled.

         49.   Defendants intend to continue their infringing acts, unless restrained by this

Court.

         50.   Defendants’ acts have damaged and will continue to damage Plaintiff.

         51.   Plaintiff has no adequate remedy at law.

         52.   Plaintiff is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees and

costs of the action, together with prejudgment and post-judgment interest.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for judgment as follows:

         1.    That Defendants’ products and materials that infringe Plaintiff’s copyright, as

well as any other articles, advertisements and webpages that contain/embody Plaintiff’s

original work, be impounded pursuant to 17 U.S.C. §§ 503(a).

         2.    That Defendants’ products and materials that infringe Plaintiff’s copyright, as

well as any other articles, advertisements and webpages that contain/embody Plaintiff’s

original work, be destroyed pursuant to 17 U.S.C. §§ 503(b).

         3.    That Defendants be required to provide a full accounting to Plaintiff for all

profits derived from their use of Plaintiff’s copyrighted material and their production,

reproduction, and preparation of derivative works based on, distribution and display of the

unauthorized use of Plaintiff’s copyrighted works in all media, from all sources, worldwide.

         4.    That Defendants be ordered to pay Plaintiff all damages, including future

damages, Plaintiff has sustained or will sustain as a result of the acts complained of herein, and

that Plaintiff be awarded profits derived by Defendants as a result of said acts, or as determined

by said accounting.
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           5.     That Defendants be ordered to pay Plaintiff punitive damages as a result of

Defendants’ deliberate and willful misconduct.

           6.     That Defendants be ordered to pay Plaintiff pre and post judgement interest on

all applicable damages.

           7.     That Defendants be permanently enjoined from all other infringement of

Plaintiff’s copyrights.

           8.     That Defendants be ordered to pay Plaintiff statutory damages pursuant 17

U.S.C. §§ 504.

           9.     A preliminary and permanent injunction prohibiting Defendants, and their

respective agents, servants, employees, officers, successors, licensees and assignees, and all

persons acting in concert or participation with each or any of them, from continuing to infringe

Plaintiff’s copyright(s).

           10.    Such other relief as the Court may deem equitable and just.

                                            JURY DEMAND

           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury on all issues so

triable.

September 17, 2018                                       Respectfully submitted,


                                                           s/ Jason A. Pittman
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